 Case 3:18-cv-00296-MMD-CLB Document 222-1 Filed 10/08/20 Page 1 of 6




            Exhibit 2
Go Fund Me - Tripp against tesla and
              musk




                                                                 1
Fundraiser by Martin Tripp : Tripp against tesla and musk   https://www.gofundme.com/f/tripp-vs-tesla?utm_source=customer&ut...
                       Case 3:18-cv-00296-MMD-CLB Document 222-1 Filed 10/08/20 Page 2 of 6




                                                                                                    2
1 of 2                                                                                                      9/22/2020, 8:38 PM
Fundraiser by Martin Tripp : Tripp against tesla and musk   https://www.gofundme.com/f/tripp-vs-tesla?utm_source=customer&ut...
                       Case 3:18-cv-00296-MMD-CLB Document 222-1 Filed 10/08/20 Page 3 of 6




                                                                                                    3
2 of 2                                                                                                      9/22/2020, 8:38 PM
Fundraiser by Martin Tripp : Martin Tripp Court Sanctions Support   https://www.gofundme.com/f/martin-tripp-court-sanctions-support
                      Case 3:18-cv-00296-MMD-CLB Document 222-1 Filed 10/08/20 Page 4 of 6




                                                                                                       4
1 of 3                                                                                                          9/22/2020, 8:36 PM
Fundraiser by Martin Tripp : Martin Tripp Court Sanctions Support   https://www.gofundme.com/f/martin-tripp-court-sanctions-support
                      Case 3:18-cv-00296-MMD-CLB Document 222-1 Filed 10/08/20 Page 5 of 6




                                                                                                       5
2 of 3                                                                                                          9/22/2020, 8:36 PM
Fundraiser by Martin Tripp : Martin Tripp Court Sanctions Support   https://www.gofundme.com/f/martin-tripp-court-sanctions-support
                      Case 3:18-cv-00296-MMD-CLB Document 222-1 Filed 10/08/20 Page 6 of 6




                                                                                                       6
3 of 3                                                                                                          9/22/2020, 8:36 PM
